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                 16
                 17                        UNITED STATES DISTRICT COURT

                 18                       CENTRAL DISTRICT OF CALIFORNIA

                 19                                WESTERN DIVISION

                 20
                 21    IN RE ETHEREUMMAX                        Lead Case No. CV 22-163 MWF (SKx)
                       INVESTOR LITIGATION
                 22                                             DEFENDANT KIM KARDASHIAN’S
                       ______________________________           NOTICE OF MOTION AND MOTION TO
                 23                                             DISMISS THE THIRD AMENDED CLASS
                       This Document Relates to:                ACTION COMPLAINT; MEMORANDUM
                 24                                             OF POINTS AND AUTHORITIES
                          ALL ACTIONS.
                 25                                             Judge:   Hon. Michael W. Fitzgerald
                                                                Date:    September 25, 2023
                 26
                                                                Time:    10:00 a.m.
                 27                                             Place:   First Street Courthouse,
                                                                         Courtroom 5A
                 28
COOLEY LLP
ATTORNEYS AT LAW
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                                                                         DEF. KARDASHIAN’S MOT. TO DISMISS TAC
                                                                            LEAD CASE NO. CV 22-163 MWF (SKX)
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                   1                                 Complaint Filed:     January 7, 2022
                   2                                 Trial Date:          Not Scheduled

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                                                              DEF. KARDASHIAN’S MOT. TO DISMISS TAC
                                                                 LEAD CASE NO. CV 22-163 MWF (SKX)
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                   1                         NOTICE OF MOTION AND MOTION
                   2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   3         PLEASE TAKE NOTICE that on September 25, 2023, at 10:00 a.m., or as
                   4   soon thereafter as the matter may be heard, in the courtroom of Honorable Michael
                   5   W. Fitzgerald, United States District Judge, Central District of California, located at
                   6   350 West First Street, Los Angeles, California 90012, Defendant Kim Kardashian
                   7   (“Defendant” or “Ms. Kardashian”) will, and hereby does, move the Court for an
                   8   order dismissing certain claims in Plaintiffs’ Third Amended Class Action Complaint
                   9   (ECF No. 163) (the “TAC”). This Motion is made pursuant to Federal Rules of Civil
                 10    Procedure 12(b)(1) and 12(b)(6), and is based on this Notice of Motion and Motion,
                 11    the accompanying Memorandum of Points and Authorities, the pleadings and
                 12    evidence on file in this matter, oral argument of counsel, and such other materials
                 13    and argument as may be presented in connection with the hearing of the Motion.
                 14    Pursuant to Civil Local Rule 7-3, on July 10, 2023, counsel for the parties met and
                 15    conferred regarding this Motion.
                 16                        STATEMENT OF RELIEF REQUESTED
                 17          Defendant requests that the Court dismiss without leave to amend Plaintiffs’
                 18    requests for injunctive relief against her pursuant to Rule 12(b)(1) for lack of Article
                 19    III standing. Defendant further requests that the Court dismiss with prejudice
                 20    Plaintiffs’ Cause of Action No. 1 under the California Unfair Competition Law
                 21    (“UCL”) against her pursuant to Rule 12(b)(6), insofar as the claim is predicated on
                 22    alleged violations of state securities laws.
                 23                                 ISSUES TO BE DECIDED
                 24          Whether the Court should dismiss all requests for injunctive relief against Ms.
                 25    Kardashian under Rule 12(b)(1) for lack of Article III standing.
                 26          Whether the Court should dismiss Cause of Action No. 1 against Ms.
                 27    Kardashian under Rule 12(b)(6) for failure to state a claim insofar as the claim is
                 28    predicated on alleged violations of state securities laws.
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                                                                            DEF. KARDASHIAN’S MOT. TO DISMISS TAC
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ATTORNEYS AT LAW
                                                                                             DEF. KARDASHIAN’S MOT. TO DISMISS TAC
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                                                                                       iv                  LEAD CASE NO. CV 22-163 MWF (SKX)
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                   1                 MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.    INTRODUCTION
                   3         Ms. Kardashian respectfully requests that the Court (i) dismiss without leave
                   4   to amend Plaintiffs’ requests for injunctive relief, and (ii) dismiss with prejudice
                   5   Plaintiffs’ UCL claims against Ms. Kardashian insofar as they are predicated on
                   6   purported securities law violations—securities claims which have not been alleged
                   7   against Ms. Kardashian.
                   8   II.   RELEVANT BACKGROUND 1
                   9         A.     The Court’s Second Motion to Dismiss Order.
                 10          On June 6, 2023, the Court granted in part and denied in part Defendants’
                 11    omnibus and individual motions to dismiss on Plaintiffs’ various state consumer law
                 12    and securities law claims asserted in the Second Amended Class Action Complaint
                 13    (ECF No. 102 (“SAC”)). (See Second MTD Order at 2–6.) Pertinent to Ms.
                 14    Kardashian’s instant motion, the Court (i) allowed Plaintiffs’ California Unfair
                 15    Competition Law (“UCL”) claim to be pled “in the alternative” to the extent it
                 16    “directly involve[s] a potential securities transaction” (id. at 32–33), and (ii)
                 17    dismissed Plaintiffs’ requests for injunctive relief for lack of standing (id. at 78–79).
                 18    The Second MTD Order also clearly specified that any future successful motions to
                 19    dismiss would be granted “without leave to amend.” (Id. at 84.) Plaintiffs filed the
                 20    Third Amended Class Action Complaint (“TAC”) on June 26, 2023 (ECF No. 163).
                 21          B.     The TAC’s Allegations Against Ms. Kardashian.
                 22          The TAC contains few new allegations regarding Ms. Kardashian, although
                 23    there are some notable changes. Most telling, Plaintiffs make clear that—despite
                 24    their limited allegations against her—they view Ms. Kardashian as the deep pockets
                 25    in this lawsuit. (See, e.g., TAC ¶¶ 225, 262 (alleging that if their “state securities and
                 26
                 27    1
                         The Court’s prior orders on Defendants’ motions to dismiss contain the relevant
                 28    background concerning Plaintiffs’ factual allegations regarding EthereumMAX.
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                       (See ECF No. 99 at 5–6; ECF No. 161 (“Second MTD Order”) at 7–8.)
ATTORNEYS AT LAW
                                                                             DEF. KARDASHIAN’S MOT. TO DISMISS TAC
 SAN FRANCISCO                                                     1            LEAD CASE NO. CV 22-163 MWF (SKX)
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                   1   consumer law claims are found to be inapplicable” to Ms. Kardashian, “Plaintiffs
                   2   will be unable to obtain monetary damages in an amount that would make Plaintiffs
                   3   and the members of the Class whole”).)
                   4         Plaintiffs have also revised certain of their allegations against Ms. Kardashian.
                   5   In the wake of the Court’s Second MTD Order, Plaintiffs have dropped their
                   6   allegation that Ms. Kardashian’s alleged statement that she just “shared what [her]
                   7   friends just told [her] about the Ethereum Max Token!” was false and misleading.
                   8   (Compare id. ¶ 162, with SAC ¶ 151.) Instead, they now allege in conclusory fashion
                   9   that Ms. Kardashian’s purported “statements and omissions concerning the ability to
                 10    use EMAX Tokens to purchase goods and services relate to ‘the central functionality
                 11    of the product.’” (See, e.g., TAC ¶ 215.)
                 12          Plaintiffs also attempt to salvage their dismissed requests for injunctive relief.
                 13    (See id. ¶¶ 316, 318.) Plaintiffs allege in conclusory fashion that Ms. Kardashian’s
                 14    “promotional activities” purportedly “are ongoing and continu[ous],” but they do not
                 15    allege any facts showing that Ms. Kardashian has made a single post about EMAX
                 16    since June 14, 2021. (Id. ¶ 318.) They also speculate that Ms. Kardashian’s
                 17    purported “advertising . . . in the future” for the “EMAX Token or any other
                 18    cryptocurrency” could be unreliable, but Plaintiffs do not allege any facts showing
                 19    that Ms. Kardashian is likely to engage in any such “advertising” for EMAX, let
                 20    alone some other cryptocurrency. (Id. ¶ 316.)
                 21          C.    The TAC’s Amended Claims Against Ms. Kardashian.
                 22          The TAC again asserts the following state consumer protection law claims (the
                 23    “State Consumer Laws”) against Ms. Kardashian: (1) the UCL, Cal Bus. & Prof.
                 24    Code § 17200, et seq. (claims 1–3) (TAC ¶¶ 196–229 (unlawful prong), ¶¶ 230-266
                 25    (unfair prong), ¶¶ 267–301 (fraudulent prong)); (2) the California False Advertising
                 26    Law, Cal Bus. & Prof. Code § 17500, et seq. (claim 4) (id. ¶¶ 302–322); (3) the
                 27    Florida Deceptive and Unfair Trade Practices Act, Ch. 501, § 211(1), Fla. Stat. Ann.
                 28    (claim 5) (id. ¶¶ 323–356); (4) the New York General Business Law, Art. 22-A,
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                                                                            DEF. KARDASHIAN’S MOT. TO DISMISS TAC
 SAN FRANCISCO
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                   1   § 349, et seq. (claim 6) (id. ¶¶ 357–379); and (5) the New Jersey Consumer Fraud
                   2   Act, NJSA 56:8-1, et seq. (claim 7) (id. ¶¶ 380–402). Plaintiffs request injunctive
                   3   relief against Ms. Kardashian for each of these claims. (Id. ¶¶ 229, 266, 301, 312,
                   4   317, 355, 378, 401; see also Prayer for Relief at D, F.) Plaintiffs further assert a
                   5   claim against Ms. Kardashian for unjust enrichment or restitution (claim 14)
                   6   (id. ¶¶ 517–522).2
                   7          Plaintiffs again assert separate state securities law claims against other
                   8   Defendants. (Id. ¶¶ 403–516 (California Corporate Securities Law of 1968, Cal.
                   9   Corp. Code §§ 25110, 25503, 25400, 25500, 25401, 25501, 25402, 25403, 25504,
                 10    and 25504.1; Florida Securities and Investor Protection Act, Fl. Stat. § 517.07).)
                 11    Plaintiffs do not assert these claims against Ms. Kardashian. (Id.) Nonetheless,
                 12    Plaintiffs invoke these claims in their UCL claims against Ms. Kardashian.
                 13    (Id. ¶¶ 225, 262, 298 (alleging that if their “state securities and consumer law claims
                 14    are found to be inapplicable” to Ms. Kardashian, “Plaintiffs will be unable to obtain
                 15    monetary damages in an amount that would make [them] whole”).)
                 16    III.   LEGAL STANDARDS
                 17           Rule 12(b)(1) allows a defendant to move for dismissal on grounds that the
                 18    court lacks subject-matter jurisdiction under Article III. Fed. R. Civ. P. 12(b)(1); see
                 19    also Fed. R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-
                 20    matter jurisdiction, the court must dismiss the action.”). To establish Article III
                 21    standing, a plaintiff must allege “(1) . . . an injury in fact, (2) that is fairly traceable
                 22    to the challenged conduct of the defendant, and (3) that is likely to be redressed by a
                 23    favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)
                 24    (citations omitted). “[A] plaintiff must demonstrate standing separately for each
                 25    form of relief sought.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,
                 26    2
                         Plaintiffs have misnumbered some of their claims under Florida law and the
                 27    California Corporations Code. They bring fourteen claims in total, but only eight
                 28    against Ms. Kardashian. Ms. Kardashian uses correct (i.e., consecutive) numbering
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                       in describing the causes of action herein.
ATTORNEYS AT LAW
                                                                               DEF. KARDASHIAN’S MOT. TO DISMISS TAC
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                                                                    3             LEAD CASE NO. CV 22-163 MWF (SKX)
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                   1   528 U.S. 167, 185 (2000).
                   2         A federal court may dismiss a complaint for failure to state a claim upon which
                   3   relief may be granted. Fed. R. Civ. P. 12(b)(6). To survive a Rule 12(b)(6) motion
                   4   to dismiss, the plaintiff must allege “enough facts to state a claim to relief that is
                   5   plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
                   6   “[L]abels and conclusions, and a formulaic recitation of the elements of a cause of
                   7   action” are insufficient, id. at 555, and a complaint must offer “more than an
                   8   unadorned, the-defendant-unlawfully-harmed-me accusation,” Ashcroft v. Iqbal, 556
                   9   U.S. 662, 678 (2009).
                 10    IV.   ARGUMENT
                 11          A.     Plaintiffs Still Fail to Plead Article III Standing to Seek Injunctive
                 12                 Relief Against Ms. Kardashian.

                 13          The Court previously dismissed Plaintiffs’ request for injunctive relief because
                 14    Plaintiffs provided no allegations of an “imminent or actual [ ] threat of future harm.”
                 15    (Second MTD Order at 79.) Far from fixing these pleading defects by alleging
                 16    supporting facts, the TAC alleges the same conclusory allegations that the Court has
                 17    already rejected and otherwise adds contradictory allegations, dooming Plaintiffs’
                 18    third attempt to demonstrate standing. Because Plaintiffs still “fail to allege any
                 19    genuine threat of future harm” from Ms. Kardashian, (id.), the Court should dismiss
                 20    without leave to amend their request for injunctive relief for lack of Article III
                 21    standing.
                 22          To start, Plaintiffs still rely on impermissibly vague and conclusory allegations
                 23    of “ongoing” conduct by Ms. Kardashian.           See EduMoz, LLC v. Republic of
                 24    Mozambique, No. CV 13-02309, 2015 WL 13697385, at *20 (C.D. Cal. Apr. 20,
                 25    2015) (rejecting “vague and conclusory” allegations of a purported threat of recurring
                 26    violation). For example, the TAC makes the bare assertion that Ms. Kardashian’s
                 27    “promotional activities are ongoing and continue to this date,” (TAC ¶ 318), but
                 28    Plaintiffs again allege wholly past posts by Ms. Kardashian over two years ago,
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                   1   (id. ¶¶ 137 (May 30, 2021 Instagram story), 156 (June 14, 2021 Instagram story).
                   2   This past conduct does not suffice to establish Article III standing to seek injunctive
                   3   relief. See O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974) (“Past exposure to
                   4   illegal conduct does not in itself show a present case or controversy regarding
                   5   injunctive relief[.]”). Plaintiffs simply do not allege any facts showing ongoing
                   6   “promotional activities” of the EMAX Token by Ms. Kardashian. (TAC ¶ 318.)
                   7         Unable to allege ongoing conduct, Plaintiffs shift gears. They profess a
                   8   “thwarted desire” to purchase more EMAX Tokens at some unspecified point in the
                   9   future, but assert that they will not be able “to rely on EMAX Token or any other
                 10    cryptocurrency-related advertising by Kardashian in the future.”          (Id. ¶ 316.)
                 11    Plaintiffs’ allusion to their “thwarted desire” is a meritless attempt to rely on
                 12    Davidson v. Kimberly-Clark Corp., 889 F.3d 956 (9th Cir. 2018), to cure their
                 13    defective allegations. Davidson requires that Plaintiffs plead “plausible allegations”
                 14    of a “threat of future harm,” not merely a purportedly thwarted desire to make a future
                 15    purchase. Id. at 969–70 (emphasis added). Plaintiffs make no factual allegations
                 16    showing that Ms. Kardashian will promote “other” unspecified “cryptocurrenc[ies]”
                 17    in the future, or is likely to do so. (TAC ¶ 316.) Nor do they allege any facts showing
                 18    that Ms. Kardashian will promote or is likely to promote the EMAX Token in the
                 19    future. The absence of such allegations is fatal to Article III standing, as this Court
                 20    has already made clear. (Second MTD Order at 79 (“Plaintiffs fail to allege any
                 21    genuine threat of future harm, whether that be in the form of a thwarted desire to
                 22    purchase additional Tokens or any other cognizable theory”).)
                 23          Plaintiffs’ “alternative[]” allegation that they “might purchase EMAX Tokens
                 24    in the future,” (TAC ¶ 316), is also insufficient to demonstrate Article III standing.
                 25    “[T]hreatened injury must be certainly impending” to satisfy Article III. Clapper v.
                 26    Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (internal quotation marks omitted).
                 27    “[A]llegations of possible future injury are not sufficient.” Id. (internal quotation
                 28    marks omitted). Plaintiffs’ pure speculation about their possible future conduct at
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                                                                           DEF. KARDASHIAN’S MOT. TO DISMISS TAC
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                   1   some unspecified date cannot show any cognizable injury under Article III.
                   2         In short, Plaintiffs have not cured their prior pleading deficiencies identified
                   3   by the Court, and all requests for injunctive relief against Ms. Kardashian should be
                   4   dismissed without leave to amend.
                   5         B.     Plaintiffs Cannot State UCL Claims Against Ms. Kardashian for
                   6                Alleged Violations of State Securities Laws.
                   7         The TAC’s first cause of action alleges a claim against “all Defendants” under
                   8   the UCL’s unlawful prong. (TAC ¶¶ 196–229.) Plaintiffs note that violations of
                   9   certain other state consumer laws may constitute a predicate violation under the UCL.
                 10    (See id. ¶ 202 (noting Consumer Law claims 4–7).) However, the first cause of action
                 11    in the TAC was also amended to include the following:
                 12          In the event that Plaintiffs’ state securities . . . law claims are found to
                 13          be inapplicable to the wrongdoing alleged herein against Defendant
                             Kardashian, Plaintiffs will be unable to obtain monetary damages in an
                 14          amount that would make Plaintiffs and the members of the Class whole.
                 15
                       (Id. ¶ 225 (emphasis added); see also ¶¶ 262, 298 (alleging same).) This allegation
                 16
                       implies that Plaintiffs are asserting a UCL claim against Ms. Kardashian based on
                 17
                       alleged violations of state securities laws. That claim should be rejected.
                 18
                             First, as Defendants previously briefed to the Court, (ECF No. 119 at 6–7),
                 19
                       the UCL does not apply to claims involving securities transactions. See Bowen v.
                 20
                       Ziasun Techs., Inc., 116 Cal. App. 4th 777, 788 (2004), as modified on denial of reh’g
                 21
                       (Apr. 7, 2004); Scala v. Citicorp Inc., No. C 10-03859 CRB, 2011 WL 900297,
                 22
                       at *7 n.7 (N.D. Cal. Mar. 15, 2011) (UCL does not reach “misrepresentations and
                 23
                       omissions that occurred ‘in connection with’ the purchase or sale of covered
                 24
                       securities”); San Francisco Residence Club, Inc. v. Amado, 773 F. Supp. 2d 822, 834
                 25
                       (N.D. Cal. 2011) (dismissing UCL claims because “plaintiffs’ theory unavoidably
                 26
                       focuses on the purchase of securities, and Bowen is determinative”). The Court
                 27
                       allowed Plaintiffs’ state consumer law claims, including the UCL claim, to proceed
                 28
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                                                                            DEF. KARDASHIAN’S MOT. TO DISMISS TAC
 SAN FRANCISCO
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                   1   only in the alternative. (Second MTD Order at 33 (“At this stage, the Court will not
                   2   dismiss wholesale the State Consumer Law claims but will instead construe the State
                   3   Consumer Law claims as pled in the alternative to the extent they appear to directly
                   4   involve a potential securities transaction.”).) Plaintiffs’ amended language in the
                   5   TAC is an improper attempt to circumvent the Court’s precise ruling by directly
                   6   predicating their UCL claim on violations of securities laws, which would necessarily
                   7   involve a potential securities transaction.
                   8         Second, and as independent ground for dismissal, the TAC, like Plaintiffs’
                   9   prior complaint, does not specifically allege any state securities law claims against
                 10    Ms. Kardashian. (Compare SAC ¶¶ 367–376, 385–489, with TAC ¶¶ 403–516.) Nor
                 11    does the TAC allege any facts about Ms. Kardashian’s alleged role or involvement
                 12    in the purported securities law violations. Plaintiffs’ attempt to use their UCL claim
                 13    against Ms. Kardashian as a backdoor for securities law claims cannot survive these
                 14    basic pleading deficiencies. See Fed. R. Civ. P. 8(a); Gardiner v. Walmart Inc.,
                 15    No. 20-CV-04618-JSW, 2021 WL 2520103, at *8 (N.D. Cal. Mar. 5, 2021) (where
                 16    plaintiff fails to allege predicate violation, “the UCL unlawful claim must also be
                 17    dismissed”); cf. Aleksick v. 7-Eleven, Inc., 205 Cal. App. 4th 1176, 1186 (2012)
                 18    (“Neither [defendant] nor the court [is] required to guess the predicate for the UCL
                 19    cause of action.”).
                 20    V.    CONCLUSION
                 21          For the foregoing reasons, Ms. Kardashian requests that the Court (i) dismiss
                 22    without leave to amend Plaintiffs’ requests for injunctive relief against her and (ii)
                 23    dismiss with prejudice the TAC’s first cause of action against her to the extent it is
                 24    predicated on alleged violations of state securities laws.
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                                                                            DEF. KARDASHIAN’S MOT. TO DISMISS TAC
 SAN FRANCISCO
                                                                     7         LEAD CASE NO. CV 22-163 MWF (SKX)
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                   1   Dated: August 1, 2023     COOLEY LLP
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                                                 By: /s/ Michael G. Rhodes
                   4                                Michael G. Rhodes
                   5                             Attorneys for Defendant
                                                 Kim Kardashian
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                   1                         CERTIFICATE OF COMPLIANCE
                   2         The undersigned, counsel of record for Defendant Kim Kardashian, certifies
                   3   that this brief contains 2,287 words, which:
                   4         X complies with the word limit of L.R. 11-6.1.
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                   6   Dated: August 1, 2023                  COOLEY LLP

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                   8                                          By: /s/ Michael G. Rhodes
                                                                 Michael G. Rhodes
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